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                             14                                UNITED STATES BANKRUPTCY COURT
      767 Fifth Avenue




                             15                                NORTHERN DISTRICT OF CALIFORNIA
                                                                      SAN FRANCISCO DIVISION
                             16

                             17                                               Bankruptcy Case No. 19-30088 (DM)
                             18     In re:                                    Chapter 11 (Lead Case) (Jointly Administered)
                             19     PG&E CORPORATION,                         NOTICE OF HEARING ON DEBTORS’ FIRST
                                                                              OMNIBUS REPORT AND OBJECTION TO
                             20              - and -                          CLAIMS ASSERTED PURSUANT TO 11 U.S.C.
                             21     PACIFIC GAS AND ELECTRIC                  § 503(b)(9)
                                    COMPANY,
                             22                                               Date: August 14, 2019
                                                                   Debtors.   Time: 9:30 a.m. (Pacific Time)
                             23                                               Place: United States Bankruptcy Court
                                     Affects PG&E Corporation                       Courtroom 17, 16th Floor
                             24      Affects Pacific Gas and Electric               San Francisco, CA 94102
                                    Company
                             25      Affects both Debtors                    Objection Deadline: July 31, 2019
                                                                                                  4:00 p.m. (Pacific Time)
                             26     * All papers shall be filed in the Lead
                                    Case, No. 19-30088 (DM).
                             27

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                                                                               3
 1   TO: ALL PARTIES WHO HAVE FILED “PROOF OF 503(b)(9) CLAIM” FORMS IN THE
     ABOVE-CAPTIONED CHAPTER 11 REORGANIZATION CASES
 2
             PLEASE TAKE NOTICE that on January 29, 2019 (the “Petition Date”), PG&E
 3   Corporation and Pacific Gas and Electric Company, as debtors and debtors in possession (the
     “Debtors”) in the above-captioned chapter 11 cases (the “Chapter 11 Cases”), each filed a voluntary
 4
     petition for relief under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”)
 5   with the United States Bankruptcy Court for the Northern District of California (San Francisco
     Division) (the “Bankruptcy Court”).
 6
           PLEASE TAKE FURTHER NOTICE that the Bankruptcy Court will hold a hearing on
 7   August 14, 2019, at 9:30 a.m. (Pacific Time) (the “Omnibus Hearing”) in the courtroom of the
     Honorable Dennis Montali, United States Bankruptcy Judge, Courtroom 17, 16th Floor, 450 Golden
 8
     Gate Avenue, San Francisco, California 94102.
 9
            PLEASE TAKE FURTHER NOTICE that, in addition to any other matters to be heard at
10   the Omnibus Hearing, the Bankruptcy Court is scheduled to hear the Debtors’ First Omnibus Report
     and Objection to Claims Asserted Pursuant to 11 U.S.C. § 503(b)(9) filed by the Debtors on July 8,
11   2019 [Dkt. No. 2896] (the “Omnibus Objection”).
12
            PLEASE TAKE FURTHER NOTICE that you are being served with the Omnibus
13   Objection and its supporting documents because you may have filed a “Proof of 503(b)(9) Claim”
     form in this case claiming to have a claim entitled to administrative expense priority under 11 U.S.C.
14   § 503(b)(9) (“503(b)(9) Claim”). Exhibit A to the Omnibus Objection indicates which 503(b)(9)
     Claims the Debtors are objecting to and on what grounds. PLEASE LOCATE YOUR NAME ON
15   EXHIBIT A TO THE OMNIBUS OBJECTION TO DETERMINE WHETHER THE
16   DEBTORS ARE OBJECTING TO YOUR 503(b)(9) CLAIM.

17           PLEASE TAKE FURTHER NOTICE that any oppositions or responses to the Omnibus
     Objection must be in writing, filed with the Bankruptcy Court, and served on the counsel for the
18   Debtors at the above-referenced addresses so as to be received by no later than 4:00 p.m. (Pacific
     Time) on July 31, 2019. Any oppositions or responses must be filed and served on all “Standard
19   Parties” as defined in, and in accordance with, the Second Amended Order Implementing Certain
20   Notice and Case Management Procedures entered on May 14, 2019 [Dkt. No. 1996] (the “Case
     Management Order”). Any relief requested in the Omnibus Objection, including the denial of
21   administrative priority status or the disallowance and expungement of any 503(b)(9) Claim
     listed therein, may be granted without a hearing if no opposition is timely filed and served in
22   accordance with the Case Management Order. In deciding the Omnibus Objection, the Court may
     consider any other document filed in these Chapter 11 Cases and related Adversary Proceedings.
23
             PLEASE TAKE FURTHER NOTICE that copies of the Omnibus Objection and its
24
     supporting papers can be viewed and/or obtained: (i) by accessing the Court’s website at
25   http://www.canb.uscourts.gov, (ii) by contacting the Office of the Clerk of the Court at 450 Golden
     Gate Avenue, San Francisco, CA 94102, or (iii) from the Debtors’ notice and claims agent, Prime
26   Clerk LLC , at https://restructuring.primeclerk.com/pge or by calling (844) 339-4217 (toll free) for
     U.S.-based parties; or +1 (929) 333-8977 for International parties or by e-mail at:
27   pgeinfo@primeclerk.com. Note that a PACER password is needed to access documents on the
28   Bankruptcy Court’s website.



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                                                3
     Dated: July 8, 2019
 1
                                       WEIL, GOTSHAL & MANGES LLP
                                       KELLER & BENVENUTTI LLP
 2
                                        /s/ Thomas B. Rupp
 3
                                        Thomas B. Rupp
 4
                                        Attorneys for Debtors and Debtors in Possession
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